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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


  DARIUS GITTENS,
                                                                    Civil Action
         Plaintiff,                                          No. 18-2519 (RBK)(KMW)

  v.
                                                                 MEMORANDUM
  MILDRED SCHOLTZ, et al.,                                      OPINION & ORDER

         Defendants.



       Before the Court are Plaintiff’s responses to the Court’s February 27, 2020, Notice of Call

for Dismissal. (ECF Nos. 31, 32). The Court had issued the Notice because Plaintiff had failed to

serve his Complaint within 90 days of July 23, 2019, the date the Court allowed this matter to

proceed in part. (ECF No. 30).

       On September 10, 2019, Michael Poreda, Esq., of the firm, Wronko Loewen Benucci,

Attorneys at Law, entered a notice of appearance on behalf of Plaintiff. On December 24, 2019,

Mr. Poreda filed a motion to amend, along with a motion to appoint himself as pro bono counsel,

which are currently pending before Magistrate Judge Williams. (ECF No. 28). Since July 23,

2019, however, both Plaintiff and Mr. Poreda have failed to effectuate service of the original and

presently active Complaint in this matter, upon any of the Defendants.

       In his responses to the Court’s Notice of Call for Dismissal, Plaintiff requests an additional

45 days to effectuate service and expressed his belief, that the Notice of Call for Dismissal should

not have occurred until “March 24, 2020” because “the Amended Complaint was filed on

December 24, 2019.” (ECF No. 32).

       Axiomatically, the filing of a motion to amend does not constitute a properly filed amended

complaint. Unless and until the Court grants Plaintiff leave to file an amended complaint, he is
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not relieved under Rule 4 or the Court’s prior Order, of his duty to serve the original Complaint.

From Plaintiff’s submissions, it appears that his attorney did not attempt to effectuate service, until

January 31, 2020, when the Marshals issued a letter advising that Plaintiff had not completed the

necessary forms to attempt service. (ECF No. 29). Nor does it appear, that Plaintiff had ever asked

for an extension of time to effectuate service.

        Service of the Complaint is now more than four months overdue, and the Court finds that

Plaintiff has not demonstrated good cause to extend his time for service. Nevertheless, in

consideration of Plaintiff’s former pro se status, the Court will grant him a 14-day extension to

serve the Defendants.

        Additionally, because Mr. Poreda now represents the Plaintiff, the Court will instruct the

Marshals Service to cease all further attempts to serve the Defendants, beyond those, if any, that

have already been served. The Court does not find it appropriate to permit Mr. Poreda to enjoy

the same benefits as a duly appointed attorney from our pro bono panel, unless and until the Court

grants his motion to appoint himself as pro bono counsel.

        Accordingly, IT IS on this 30th        day of March 2020,

        ORDERED that the Notice of Call for Dismissal (ECF No. 30) is TERMINATED; and it

is further

        ORDERED that Plaintiff’s request for an extension of time to effectuate service is

GRANTED IN PART; and it is further

        ORDERED that Plaintiff shall have 14 days from the date of this Order to effectuate

service on the Defendants; and it is further

        ORDERED that the United States Marshals Service shall cease all further attempts to serve

the Defendants beyond those, if any, that have already been served; and it is further



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          ORDERED that the Clerk of the Court shall mail a copy of this Memorandum Opinion

and Order to Mike Lewandowski of the United States Marshals Service for the District of New

Jersey.

                                                        s/Robert B. Kugler
                                                        ROBERT B. KUGLER
                                                        United States District Judge




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